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            Expert Report of Massad Ayoob




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         I.       Background	  and	  Qualifications	  
  	  
  My	   name	   is	   Massad	   Ayoob.	   My	   CV	   is	   attached,	   but	   briefly,	   I	   have	   been	   a	   firearms	  
  instructor	   since	   1972,	   author	   in	   the	   firearms	   press	   since	   1971,	   and	   competitive	  
  shooter	  since	  the	  late	  1960s.	  I	  have	  served	  as	  Handgun	  Editor	  of	  Guns	  magazine	  
  for	   more	   than	   30	   years,	   as	   Law	   Enforcement	   Editor	   for	   American	   Handgunner	  
  magazine	  for	  a	  like	  period,	  and	  am	  the	  author	  of	  some	  fourteen	  books	  on	  firearms	  
  and	  self-­‐defense.	  	  
  	  
  I	  served	  for	  nineteen	  years	  as	  chair	  of	  the	  firearms	  committee	  for	  the	  American	  
  Society	  of	  Law	  Enforcement	  Trainers,	  and	  the	  last	  ten	  years	  on	  the	  advisory	  board	  
  of	  the	  International	  Law	  Enforcement	  Educators	  and	  Trainers	  Association.	  I	  have	  
  served	  as	  an	  expert	  witness	  for	  the	  courts	  since	  1979	  in	  areas	  related	  to	  weapons,	  
  weapons	   training,	   use	   of	   force	   training	   standards,	   and	   dynamics	   of	   violent	  
  encounters.	  
  	  
  I	   have	   been	   asked	   by	   Plaintiffs’	   counsel	   to	   explain	   some	   of	   the	   impacts	   that	   a	  
  magazine	   capacity	   limitation	   law	   has	   on	   law-­‐abiding	   firearms	   owners	   who	   are	  
  afflicted	  by	  various	  disabilities.	  
  	  
  I	  am	  providing	  this	  expert	  report	  pro	  bono.	  
  	  
           II.        Impact	  on	  Persons	  with	  Disabilities	  
  	  
  Over	   the	   years,	   I	   have	   trained	   thousands	   of	   police	   and	   citizen	   shooters,	   of	   all	  
  levels	   of	   ability.	   I	   have	   had	   occasion	   to	   train	   many	   physically	   challenged	   shooters.	  
  These	  include	  paraplegic	  and	  partially	  quadriplegic	  firearms	  users,	  a	  broad	  range	  
  of	   amputees,	   many	   people	   suffering	   from	   birth	   defects,	   as	   well	   as	   persons	   who	  
  have	  limited	  physical	  abilities	  due	  to	  the	  effects	  of	  aging.	  	  	  
  	  
  I	   can	   say	   to	   a	   definite	   degree	   of	   scientific	   certainty	   that	   there	   are	   a	   great	   many	  
  people	   in	   this	   situation	   whose	   ability	   to	   defend	   themselves	   and	   other	   innocent	  
  persons	   will	   be	   severely	   and	   negatively	   impacted	   by	   a	   magazine	   capacity	  
  limitation.	  
  	  
  	  
  	  	  

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         A. Missing	  or	  shortened	  fingers	  
  	  
  Handguns	  are	  designed	  for	  normal	  hands,	  and	  historically,	  for	  average	  or	  larger-­‐
  than-­‐average	   male	   hands.	   	   People	   with	   shorter-­‐than-­‐average	   fingers	   (or	   fewer	  
  than	  five	  fingers)	  suffer	  particularly	  in	  this	  respect.	  
  	  
  Dwarves,	   “Thalidomide	   babies”	   in	   adulthood,	   and	   those	   who	   have	   suffered	  
  traumatic	   amputation	   of	   thumbs	   or	   fingers	   are	   particularly	   affected	   by	   reduced	  
  cartridge	  capacity.	  	  The	  thumb	  of	  the	  firing	  hand	  normally	  presses	  the	  magazine	  
  release	  button	  to	  eject	  the	  spent	  magazine	  from	  an	  empty	  semiautomatic	  pistol	  
  to	   begin	   the	   loading	   process,	   and	   the	   index	   finger	   of	   the	   right-­‐handed	   shooter	  
  does	   the	   same	   on	   the	   popular	   AR15	   rifle.	   	   When	   these	   digits	   are	   shorter	   than	  
  average,	   or	   indeed	   are	   not	   present,	   it	   becomes	   extremely	   slow,	   awkward,	   and	  
  sometimes	  even	  impossible	  for	  such	  a	  legitimate	  user	  to	  perform	  this	  operation.	  	  
  	  
  With	   the	   full	   capacity	   magazines	   which	   are	   legal	   in	   all	   but	   a	   few	   states,	   the	  
  shooter	   would	   not	   run	   out	   of	   ammunition	   so	   quickly,	   and	   would	   not	   have	   to	  
  reload	  at	  all.	  
  	  
          B. Missing	  hand	  or	  arm	  
  	  
  The	   situation	   becomes	   even	   more	   difficult	   for	   the	   user	   who	   has	   only	   one	   hand	   or	  
  arm.	  I	  have	  worked	  with	  a	  number	  of	  students	  who	  were	  in	  this	  situation	  due	  to	  
  birth	  defect,	  traumatic	  amputation,	  post-­‐polio	  syndrome,	  etc.	  	  For	  them	  to	  reload	  
  one-­‐handed,	   they	   have	   to	   eject	   the	   magazine	   one-­‐handed	   and	   then	   secure	   the	  
  pistol	   in	   a	   holster,	   waistband,	   between	   the	   knees,	   etc.	   These	   manipulations	   are	  
  awkward,	  time	  consuming,	  and	  potentially	  dangerous	  even	  in	  training,	  let	  alone	  in	  
  conditions	   of	   life-­‐threatening	   stress.	   	   Moreover,	   a	   homeowner	   awakened	   from	  
  sleep	  by	  a	  home	  invasion	  in	  the	  night	  is	  unlikely	  to	  have	  time	  to	  put	  on	  pants,	  let	  
  alone	   a	   holster,	   prior	   to	   grabbing	   the	   defensive	   firearm.	   Nor	   are	   they	   likely	   to	  
  have	  time	  to	  grab	  spare	  magazines,	  even	  if	  they	  had	  a	  place	  to	  carry	  such	  on	  their	  
  person.	  
  	  
          C. Disabilities	  associated	  with	  aging	  
  	  
  Other	  physical	  limitations	  can	  prejudice	  the	  lawfully	  armed	  citizen	  in	  this	  regard.	  
  It	   is	   common	   for	   senior	   citizens	   to	   suffer	   from	   arthritis	   and	   related	   ailments.	  

                                                                      3	  
  	  
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  These	   weaken	   the	   hands,	   making	   a	   reload	   even	   more	   difficult.	   	   Range	   of	  
  movement	  of	  hands,	  wrists,	  and	  fingers	  are	  deleteriously	  affected.	  	  Another	  age-­‐
  related	  issue	  can	  be	  hand	  tremors.	  	  These	  make	  it	  extremely	  difficult	  for	  the	  user	  
  to	   press	   the	   small	   magazine	   release	   button,	   to	   grasp	   the	   fresh	   magazine,	   and	  
  insert	   that	   next	   magazine	   into	   the	   small	   receptacle	   within	   the	   firearm.	   	   The	  
  shooter	  then	  has	  to	  activate	  a	  small	  slide	  release	  or	  bolt	  release	  lever	  to	  bring	  the	  
  first	   cartridge	   from	   the	   fresh	   magazine	   into	   the	   firing	   chamber	   and	   resume	  
  shooting.	  	  
  	  
  This	   past	   winter,	   I	   had	   occasion	   to	   do	   refresher	   training	   with	   a	   student	   from	  
  decades	   before,	   now	   in	   his	   mid-­‐eighties.	   While	   mentally	   as	   sharp	   as	   ever,	   this	  
  student	  was	  affected	  by	  weakened	  and	  palsied	  hands.	  He	  was	  no	  longer	  able	  to	  
  qualify	  on	  a	  police-­‐type	  course	  with	  his	  preferred	  semiautomatic	  pistol	  because,	  
  while	  he	  was	  able	  to	  hit	  the	  target,	  he	  was	  unable	  to	  perform	  the	  required	  reloads	  
  within	   the	   standard	   time	   constraints.	   	   By	   simply	   replacing	   the	   lower	   capacity	  
  magazines	  with	  higher	  capacity	  ones,	  he	  was	  able	  to	  get	  his	  shots	  on	  target	  within	  
  the	  required	  time	  limit.	  	  Such	  a	  man	  would	  be	  profoundly	   harmed	  by	  a	  magazine	  
  capacity	  limit.	  	  
  	  
  Therefore,	   we	   see	   that	   the	   magazine	   capacity	   limit	   also	   has	   a	   particularly	   harmful	  
  impact	  on	  the	  elderly.	  
  	  
         D. Lower	  body	  disabilities	  
  	  
  Legitimate	   firearms	   users	   with	   lower	   body	   movement	   limitations	   are	   also	  
  impacted	   in	   this	   regard.	   	   As	   recently	   as	   this	   year,	   I	   have	   	   trained	   Wounded	  
  Warriors	   who	   returned	   from	   the	   current	   conflict	   unable	   to	   walk.	   One	   had	   lost	  
  both	  legs	  above	  the	  knee	  and	  part	  of	  one	  hand	  in	  an	  IED	  explosion;	  the	  other	  had	  
  lost	   one	   leg	   and	   lost	   the	   use	   of	   the	   other.	   Both	   were	   able	   to	   shoot	   and	   even	  
  reload	  effectively,	  and	  the	  latter	  was	  actually	  top	  shot	  in	  his	  class	  competing	  from	  
  the	  wheelchair	  against	  able-­‐bodied	  classmates.	  However,	  in	  a	  real	  world	  situation	  
  neither	  would	  have	  been	  able	  to	  maneuver	  his	  wheelchair	  to	  a	  position	  of	  cover	  
  safely,	  the	  way	  an	  able-­‐bodied	  shooter	  could,	  firing	  while	  moving.	  	  	  
  	  
  The	   wheelchair-­‐bound	   defender	   is	   trapped	   in	   place.	   	   Such	   a	   citizen	   has	   all	   the	  
  more	   need	   for	   a	   higher	   capacity	   firearm,	   because	   trapped	   in	   the	   open	   against	  
  opposing	  fire	  or	  direct	  assault,	  they	  would	  have	  no	  practical	  way	  to	  move	  to	  cover	  

                                                                        4	  
  	  
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  during	   the	   critical,	   vulnerable	   seconds	   it	   would	   take	   them	   to	   reload	   a	   lower-­‐
  capacity	  firearm	  that	  had	  run	  empty.	  
  	  
  III.	  Perspective	  on	  shootouts	  
  	  
  While	   high	   volume	   shootouts	   are	   the	   exception	   rather	   than	   the	   norm	   in	  
  legitimate	  armed	  self-­‐defense	  cases,	  they	  do	  occur.	  	  Capt.	  Richard	  Wemmer	  (ret.),	  
  the	   famed	   officer	   survival	   expert	   from	   LAPD,	   documented	   multiple	   gunfights	   in	  
  which	   police	   officers	   emptied	   their	   service	   pistols	   and	   both	   of	   the	   spare	  
  magazines	   customarily	   worn	   on	   police	   uniform	   duty	   belts,	   and	   had	   not	   yet	   won	  
  the	  gunfights.	  A	  similar	  incident	  was	  documented	  not	  long	  ago	  in	  Illinois,	  involving	  
  a	   lone	   officer	   with	   three	   15-­‐shot	   pistol	   magazines	   against	   a	   single	   well-­‐ensconced	  
  and	  heavily	  armed	  offender.	  	  The	  officer	  was	  out	  of	  ammunition	  and	  still	  in	  deadly	  
  danger	  when	  additional	  responding	  officers	  arrived	  and	  neutralized	  the	  would-­‐be	  
  cop-­‐killer	  who	  was	  shooting	  at	  him.	  	  While	  these	  were	  law	  enforcement	  incidents,	  
  it	   must	   always	   be	   remembered	   that	   many	   private	   citizens	   own	   their	   guns	   to	  
  protect	  themselves	  from	  the	  very	  same	  criminals	  that	  society	  arms	  our	  police	  to	  
  deal	  with.	  	  	  	  
  	  
  Over	  the	  years,	  high-­‐volume	  gunfights	  have	  indeed	  been	  known	  to	  occur	  in	  which	  
  it	   was	   imperative	   for	   armed	   citizens	   to	   sustain	   fire	   to	   contain	   or	   neutralize	   the	  
  threat.	  For	  example,	  Lance	  Thomas,	  a	  watch	  repairman	  in	  Los	  Angeles,	  was	  over	  
  the	   course	   of	   years	   forced	   to	   shoot	   it	   out	   multiple	   times	   with	   multiple	   armed	  
  robbers.	  	  Thomas	  won	  the	  gunfights	  only	  because	  he	  kept	  several	  loaded	  guns	  in	  
  his	   work	   area	   and	   was	   able	   to	   transition	   to	   another	   gun	   when	   the	   first	   ran	   dry.	  
  Had	  he	  not	  been	  able	  on	  one	  occasion	  to	  transition	  between	  more	  than	  two	  guns,	  
  he	   almost	   certainly	   would	   have	   been	   murdered.	   (The	   Thomas	   incidents	   are	  
  described	   in	   my	   article,	   “An	   urban	   gunfighter:	   The	   lessons	   of	   Lance	   Thomas,”	  
  American	  Handgunner,	  Mar.	  1,	  2002,	  available	  at	  2002	  WLNR	  14052078.)	  
  	  
  In	  another	  well-­‐known	  case,	  the	  Beverly	  Hills	  Jewelry	  Store	  robbery	  in	  Richmond,	  
  VA,	   store	   owners	   shot	   it	   out	   with	   multiple	   armed	   members	   of	   the	   Dixie	   Mafia.	  
  They	   prevailed	   only	   because	   over	   a	   dozen	   loaded	   guns	   had	   been	   staged	   every	  
  three	  feet	  behind	  the	  counters,	  and	  one	  owner	  was	  able	  to	  move	  between	  guns,	  
  transitioning	  to	  a	  fresh	  weapon	  when	  the	  last	  went	  dry.	  (Reports	  of	  the	  robbery	  
  can	  be	  found	  at	  Associated	  Press,	  Owner	  Offers	  No	  Regrets	  Over	  Killing	  Robbers	  
  Inside	   Store,”	   Virginia	   Pilot	   and	   Ledger-­‐Star	   (Norfolk,	   VA),	   Dec.	   6,	   1994,	   	   1994	  

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  WLNR	  1880234;	  Mark	  Bowes,	  “A	  'Dixie	  Mafia'	  Man's	  Life,	  Death	  Robber's	  Record	  
  Stretches	  To	  '42,”	  	  Richmond	  Times	  Dispatch,	  Dec.	  28,	  1994,	  	  1994	  WLNR	  989704;	  
  Associated	   Press,	   “2	   Masked	   Men	   Shot	   To	   Death	   In	   Gunfight	   With	   Store	   Clerks	  
  The	  Shots	  Were	  Fired	  At	  A	  Jewelry	  Store	  In	  A	  Richmond	  Suburb,”	  Virginian-­‐Pilot	  &	  
  Ledger	  Star	  (Norfolk	  Va.),	  Dec.	  3,	  1994,	  1994	  WLNR	  1893020.)	  
  	  
  This	   strategy	   is	   not	   practical	   in	   the	   American	   home,	   or	   in	   public	   with	   a	   citizen	  
  licensed	   to	   carry	   a	   concealed	   handgun.	   	   However,	   a	   higher	   capacity	   firearm	   –	   a	  
  Springfield	   XDM	   9mm	   with	   19	   rounds	   in	   the	   magazine	   and	   a	   20th	   in	   the	   firing	  
  chamber,	   or	   some	   of	   the	   30-­‐shot	   rifles	   available	   today	   –	   would	   give	   such	   a	   citizen	  
  (especially	  one	  with	  a	  disability)	  more	  of	  a	  fighting	  chance	  to	  survive	   such	  violent,	  
  armed	  criminal	  assaults.	  
  	  
  IV.	  Conclusion	  
  	  
  It	   is	   clear	   to	   a	   strong	   degree	   of	   scientific	   certainty	   that	   the	   magazine	   capacity	  
  limitation	   in	   Colorado	   will	   have	   a	   harmful	   impact	   on	   the	   disabled/physically	  
  challenged	  individual,	  and	  on	  the	  elderly	  as	  well.	  	  	                                               	  




                                                                        6	  
  	  
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  Curriculum	  Vitae,	  	  Massad	  F.	  Ayoob	  
  	  
  Areas	  of	  Expertise	  
  	  
  Dynamics	   of	   violent	   encounters,	   training	   standards	   for	   safe	   weapons	   handling	   (law	  
  enforcement/civilian),	   training	   standards	   of	   firearms	   and	   use	   of	   force	   (police/civilian),	  
  homicide/use	   of	   force	   investigation,	   personal	   and	   professional	   security,	   weapon	  
  retention/disarming,	  law	  enforcement	  internal	  investigation/discipline.	  
  	  
  Teaching	  Experience	  
  	  
  Director,	  Massad	  Ayoob	  Group,	  2009-­‐present.	  
  	  
  Director,	  Lethal	  Force	  Institute,	  1981-­‐2009.	  
  	  
  Chair	   of	   firearms	   committee,	   American	   Society	   of	   Law	   Enforcement	   Trainers	   (ASLET),	   1987-­‐
  2007.	  	  Also	  served	  on	  Ethics	  Committee.	  	  Led	  annual	  Panel	  of	  Experts	  on	  firearms/deadly	  force	  
  issues	  at	  ASLET’s	  international	  seminars.	  
  	  
  Special	   Instructor,	   Chapman	   Academy	   of	   Practical	   Shooting,	   1981-­‐88.	   Defensive	   Combat	  
  Shooting;	  Judicious	  Use	  of	  Deadly	  Force;	  Advanced	  Officer	  Survival	  Tactics.	  
  	  
  International	   Instructor,	   PR-­‐24	   baton;	   has	   lectured	   several	   times	   at	   annual	   international	  
  seminar.	  Trains	  other	  instructors	  and	  trainers	  of	  instructors.	  
  	  
  Advisory	  Board	  member,	  International	  Law	  Enforcement	  Educators’	  and	  Trainers’	  Association.	  	  
  Have	  lectured	  there	  on	  investigation	  and	  management	  of	  police	  use	  of	  force	  cases	  at	  all	  Annual	  
  Meetings	  since	  the	  organization’s	  inception	  in	  2003.	  
  	  
  National	   Instructor,	   Weapon	   Retention	   &	   Disarming,	   National	   Law	   Enforcement	   Training	  
  Center.	  Trains	  other	  instructors	  and	  trainers	  of	  instructors.	  1990-­‐2009.	  
  Assistant	  professor	  teaching	  weapons	  and	  chemical	  agents,	  Advanced	  Police	  Training	  Program	  
  of	  New	  Hampshire,	  1974-­‐77.	  
  	  
  Co-­‐instructor	   (w/former	   world	   pistol	   champion	   Ray	   Chapman)	   of	   Advanced	   Officer	   Survival	  
  Seminars	  for	  the	  Police	  Marksman	  Association.	  
  	  
  International	  Instructor,	  Persuader	  Mini-­‐Baton,	  certified	  by	  Joe	  Truncale.	  
  	  
  Instructor,	  Kubotan	  self-­‐defense,	  certified	  by	  Soke	  Takayuki	  Kubota.	  
  	  
  National	  Instructor,	  Telescoping	  baton,	  certified	  by	  CASCO	  (baton	  manufacturer).	  
  	  

                                                                       7	  
  	  
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  Instructor,	  straight	  baton,	  certified	  by	  COPSTK	  (baton	  manufacturer).	  
  Has	  taught	  for	  national,	  international,	  and	  regional	  seminars	  of	  
  	  
  	        FBI.	  Albuquerque	  Office.	  Use	  of	  force/Survival.	  2012.	  
  	  
            International	   Association	   of	   Law	   Enforcement	   Firearms	   Instructors.	   Numerous	   annual	  
            meetings.	  
            	  
            Regional	   seminars	   for	   CLE	   credit	   on	   defending	   deadly	   force	   cases	   (NACDL;	   Mass.	   CDL	  
            Assn.).	  
            	  
            International	   Homicide	   Investigators’	   Seminar.	   Investigation	   of	   officer-­‐involved	  
            shootings	  and	  characteristics	  of	  self-­‐defense	  shootings.	  
            	  
            McGill	   University	   School	   of	   Medicine.	   Visiting	   lecturer	   on	   medico-­‐legal	   aspects	   of	  
            gunshot	  and	  knife	  wounds.	  	  
            	  
            Officer	  survival	  tactics	  taught	  at:	  	  DEA	  National	  Academy;	  Ordnance	  Expo,	  Los	  Angeles;	  
            National	  Tactical	  Invitational;	  New	  England	  SWAT	  Seminar;	  Metro-­‐Dade	  Police	  Academy;	  
            DEA/Miami.	  
  	  
  Personal	  Training	  
  	  
  Smith	   &	   Wesson	   Academy:	   	   Advanced	   Combat	   Shooting	   (1st	   in	   class),	   Instructor	   course;	  
  Instructor	   Update	   (twice);	   Officer	   Survival	   Course	   (1st	   in	   class);	   Weapon	   Retention	   instructor	  
  course;	  advanced	  revolver	  shooting	  course.	  
  	  
  Glock:	  	  Glock	  Instructor	  Course;	  Glock	  Armorer	  Course.	  
  	  
  Firearms	  Instructor	  Courses:	  National	  Rifle	  Association.	  
  	  
  Ordnance	   Expo:	   Firearms	   and	   Ballistic	   Evidence;	   Officer	   Involved	   Shooting	   Investigation;	  
  Advanced	  Officer	  Involved	  Shooting	  Investigation;	  Officer	  Survival;	  Management	  of	  Barricaded	  
  Suspects.	  
  	  
  International	   Police	   Academy:	   Defensive	   Tactics	   (Unarmed	   Combat	   and	   Restraint)	   Instructor	  
  Course,	  rated	  Master	  Instructor	  by	  sensei	  James	  Morell.	  
  	  
  NYPD:	   “Hostage	   Negotiation	   for	   Supervisors”,	   “Post	   Shooting	   Tactics”,	   “House	   Clearing	  
  Techniques”,	   “Off	   Duty	   Confrontation	   Tactics”,	   “Summary	   of	   Violent	   Encounter	   Patterns”,	  
  “Police	  Shotgun	  Program.”	  
  	  
  Advanced	   Homicide	   Investigation.	   By	   Vern	   Geberth,	   NYPD	   Ret.,	   author	   of	   “Practical	   Homicide	  
  Investigation.”	  	  	  

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  International	  Homicide	  Investigators’	  Seminar	  (2	  occasions).	  
  	  
  Medical/Legal	  Death	  Investigation	  (Dade	  County	  Medical	  Examiner’s	  Office).	  
  	  
  Americans	  for	  Effective	  Law	  Enforcement	  :	  “Police	  Civil	  Liability	  Seminar.”	  
  	  
  American	   Society	   of	   Law	   Enforcement	   Trainers.	   “PPCT:	   Pressure	   Point	   Control	   Tactics	   	   ,”	   taught	  
  by	  Bruce	  Siddle.	  
  	  
  Federal	  Law	  Enforcement	  Training	  Center:	  BOSS	  program	  including	  officer	  survival,	  intelligence	  
  briefings	  on	  outlaw	  bike	  gangs,	  booby	  traps,	  counter-­‐ambush	  tactics,	  arrest	  techniques.	  
  	  
  Escrima	  (stick-­‐	  and	  knife-­‐fighting),	  Grandmaster	  Remy	  Presas.	  
  	  
  Knife/Counter-­‐Knife	  courses:	  Master	  Paul	  Vunak,	  Hank	  Renhardt,	  Sensei	  Jim	  Maloney,	  Michael	  
  de	  Bethencourt.	  
  	  
  Has	   studied	   personally	   with	   world	   handgun	   champions	   Ray	   Chapman,	   Rob	   Leatham,	   Jerry	  
  Miculek,	  and	  Frank	  Garcia	  in	  advanced	  shooting	  programs.	  
  	  
  Has	  studied	  special	  units	  and	  their	  training	  on-­‐site,	  including:	  
  	  
  NYPD	  Firearms	  &	  Tactics	  Unit,	  Emergency	  Services	  Unit,	  Armed	  Robbery	  Stakeout	  Unit.	  
  	  
  LAPD	  SWAT,	  Firearms	  Training	  Unit.	  
  	  
  FBI	  Firearms	  Training	  Unit.	  
  	  
  Metro-­‐Dade	  Police	  Firearms/SWAT	  Training	  Unit	  
  	  
  Illinois	  State	  Police	  Ordnance	  Section.	  
  	  
  NH	  State	  Police	  SWAT,	  EVOC,	  Firearms	  Training.	  
  	  
  Kentucky	  State	  Police,	  Firearms	  Training	  and	  SRT	  Training.	  
  	  
  Arizona	  Highway	  Patrol	  Firearms	  Training.	  
  	  
  London,	   England	   Metropolitan	   Police	   firearms	   training	   and	   special	   services	   unit	   (D.11,	   PT-­‐17,	  
  SO-­‐19).	  
  	  
  Has	  reviewed	  or	  audited	  numerous	  other	  law	  enforcement	  firearms	  training	  programs.	  	  
  	  

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   Publication	  Credits	  
   	  
   Books:	  
   	  
   “Fundamentals	  of	  Modern	  Police	  Impact	  Weapons,”	  Charles	  C.	  Thomas,	  Publishers,	  1978.	  
   	  
   “In	   the	   Gravest	   Extreme:	   the	   Role	   of	   the	   Firearm	   in	   Personal	   Protection,”	   Police	   Bookshelf,	  
   1979.	  
   	  
   “Hit	  the	  White	  Part,”	  Police	  Bookshelf,	  1982.	  
   	  
   “The	  Truth	  About	  Self	  Protection,”	  Bantam,	  1983.	  
   	  
   “StressFire,”	  Police	  Bookshelf,	  1984.	  
   	  
   “StressFire	  II,”	  Advanced	  Combat	  Shotgun,”	  Police	  Bookshelf,	  1992.	  
   	  
   “The	  Semiautomatic	  Pistol	  in	  Police	  Service	  and	  Self	  Defense,”	  Police	  Bookshelf,	  1988.	  
   	  
   “Ayoob	  Files:	  the	  Book,”	  Police	  Bookshelf,	  1995.	  
   	  
   “Complete	   Book	   of	   Handguns,”	   Volume	   10	   (1993)	   with	   completely	   new	   volume	   produced	  
   annually	  through	  2009,	  Harris	  Publications.	  
   	  
   “Gun	  Digest	  Book	  of	  Combat	  Handgunnery,	  Fifth	  Edition,”	  Krause	  Publications,	  2002.	  
   	  
   “Gun	  Digest	  Book	  of	  SIG-­‐Sauer	  Pistols,”	  Krause	  Publications,	  2004.	  
   	  
   “Gun	  Digest	  Book	  of	  Beretta	  Pistols,”	  Krause	  Publications,	  2005.	  
   	  
   “Gun	  Digest	  Book	  of	  Combat	  Handgunnery,	  Sixth	  Edition,”	  Krause	  Publications,	  2007.	  
   	  
   “Gun	  Digest	  Book	  of	  Concealed	  Carry,”	  Krause	  Publications,	  2008.	  
   	  
   “Massad	  Ayoob’s	  Greatest	  Handguns	  of	  the	  World,”	  Krause	  Publications,	  2010.	  
   	  
   “Gun	  Digest	  Book	  of	  Concealed	  Carry,”	  Second	  Edition,	  Krause,	  	  2012	  
   	  
   “Combat	  Shooting	  With	  Massad	  Ayoob,”	  Krause,	  2011	  
   	  
   “Complete	  Book	  of	  Handguns,”	  annual	  editions	  now	  through	  2013	  
   	  
   	  

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   Monographs:	  
   	  
   “Gunproof	  Your	  Children,”	  Police	  Bookshelf/Potshot	  Press	  
   	  
   “Handgun	  Primer,”	  Police	  Bookshelf/Potshot	  Press.	  
   	  
   “The	  Police	  View	  of	  Gun	  Control,”	  Second	  Amendment	  Foundation.	  
   	  
   “Armed	  and	  Alive,”	  Second	  Amendment	  Foundation.	  
   	  
   Forewords	  for	  Authoritative	  Texts:	  
   	  
   “The	  Newhall	  Incident,”	  by	  Mike	  Wood	  
   	  
   “Armed:	  The	  Essential	  Guide	  to	  Concealed	  Carry,”	  by	  Dr.	  Bruce	  Eimer	  
   	  
   “The	  Gun	  Digest	  Book	  of	  the	  Revolver,”	  by	  Grant	  Cunningham	  
   	  
   “Mu	  Tau:	  The	  Modern	  Greek	  Karate”	  by	  James	  Arvanitis	  
   	  
   “Realistic	  Defensive	  Tactics”	  by	  John	  Peters	  
   	  
   “Modern	  Centerfire	  Handguns”	  by	  Stanley	  Trzoniec	  
   	  
   “You	  Can’t	  Miss”	  by	  John	  Shaw	  
   	  
   “MasterTips”	  by	  Jon	  Winokur	  
   	  
   “Effective	  Defense”	  by	  Gila	  May-­‐Hayes	  
   	  
   “In	  Self	  Defense”	  by	  Michael	  Izumi	  
   	  
   “The	  Tactical	  Pistol”	  by	  David	  Lauck	  
   	  
   “The	  Tactical	  Rifle”	  by	  David	  Lauck	  
   	  
   “Personal	  Defense	  for	  Women”	  by	  Gila	  Hayes	  
   	  
   “Lessons	  From	  Armed	  America”	  by	  Mark	  Walters	  and	  Kathy	  Jackson	  
   	  
   “Armed	  Response”	  by	  Dave	  Kenik	  
   	  
   “Rule	  the	  Night/Win	  the	  Fight”	  by	  Ed	  Santos	  
   	  

                                                                       11	  
   	  
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   Periodicals:	  
   	  
   Handgun	  Editor,	  Guns	  magazine	  
   	  
   Law	  Enforcement	  Editor,	  American	  Handgunner	  magazine	  
   	  
   Contributing	  Editor,	  Shooting	  Industry	  magazine	  
   	  
   Contributing	  Editor,	  On	  Target	  magazine	  
   	  
   Firearms	  Editor,	  Backwoods	  Home	  magazine	  
   	  
   Associate	  Editor,	  Combat	  Handguns	  magazine	  
   	  
   Associate	  Editor,	  Guns	  &	  Weapons	  for	  Law	  Enforcement	  magazine	  
   	  
   Associate	  Editor,	  Gun	  Week	  
   	  
   	             Have	   published	   thousands	   of	   articles	   in	   various	   professional	   journals	   and	   newsstand	  
   periodicals,	  the	  overwhelming	  majority	  related	  to	  law	  enforcement,	  weaponry,	  martial	  arts	  and	  
   personal	  defense.	  	  Firearms	  articles	  have	  appeared	  in	  Guns,	  American	  Handgunner,	  Handguns,	  
   GUNsport,	   Handgunner,	   Home	   Defense,	   Glock	   Annual,	   Colt	   Annual,	   Magnum,	   Gun	   World,	  
   Combat	  Handguns,	  and	  others.	  	  Martial	  arts/unarmed	  combat	  articles	  have	  appeared	  in	  Black	  
   Belt,	   Official	   Karate,	   Inside	   Kung-­‐fu,	   Inside	   Karate,	   Warriors,	   Fighting	   Stars,	   and	   other	   such	  
   publications.	   Law	   enforcement	   articles	   have	   been	   published	   in	   American	   Police	   Beat,	   Law	   &	  
   Order,	   Police,	   Police	   Product	   News,	   Sentinel,	   Trooper,	   Patrolman,	   Police	   Marksman,	   Guardian,	  
   Guns	   &	   Weapons	   for	   Law	   Enforcement,	   Guns	   &	   Ammo	   Law	   Enforcement	   Annual,	   and	   other	  
   police	  professional	  journals	  and	  law	  enforcement	  related	  periodicals.	  	  Has	  also	  been	  published	  
   in	   Car	   &	   Driver,	   Gentlemen’s	   Quarterly,	   Man’s	   Magazine,	   Modern	   Jeweler,	   New	   Hampshire	  
   Outdoorsman,	  New	  Hampshire	  Times,	  Prism,	  Sexology,	  Sports	  Afield,	  and	  assorted	  other	  general	  
   interest	  publications.	  
   	  
   Training	  Films	  
   	  
   “Massad	  Ayoob	  on	  Concealed	  Carry,”	  Panteao	  Productions,	  2013	  
   	  
   “Massad	  Ayoob	  on	  Home	  Defense,”	  Panteao	  Productions,	  2011	  
   	  
   “StressFire	  Handgun,”	  2002	  
   	  
   “StressFire	  Shotgun,”	  2002	  
   	  
   “StressFire	  Rifle,”	  2002	  

                                                                          12	  
   	  
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   “Deadly	  Force	  Cases,”	  ALI-­‐ABA,	  2001	  
   	  
   “Judicious	  Use	  of	  Deadly	  Force,”	  1990	  
   	  
   “Post	  Violent	  Event	  Trauma,”	  1990	  
   	  
   “LFI	  Handgun	  Safety,”	  1990	  
   	  
   “Off	  Duty	  Survival,”	  1993	  
   	  
   “Shoot	  to	  Live,”	  1986	  
   	  
   “How	  Close	  is	  Too	  Close,”	  1986	  
   	  
   “Cute	  Lawyer	  Tricks,”	  1986	  
   	  
   “Physio-­‐Psychological	  Aspects	  of	  Violent	  Encounters,”	  1981	  
   	  
   Has	  appeared	  in	  various	  other	  training	  films.	  
   	  
   Quoted	  as	  authoritative	  reference	  in:	  
   	  
   FBI	  Journal	  
   	  
   “Law	  Enforcement	  Handgun	  Digest”	  (Grennell)	  
   	  
   “Gun	  Digest	  Book	  of	  Combat	  Handgunnery,	  1st	  edition	  (Lewis	  &	  Mitchell),	  2nd	  and	  3rd	  editions	  
   (Karwan)	  
   	  
   “Shooting	  Schools:	  An	  Analysis”	  (Winter)	  
   	  
   “Street	  Survival:	  Tactics	  for	  Armed	  Encounters,”	  (Adams,	  McTernan,	  Remsberg)	  
   	  
   “Tactical	  Edge:	  Tactics	  for	  High	  Risk	  Patrol”	  (Remsberg)	  
   	  
   “Handgun	  Retention	  System”	  (Lindell)	  
   	  
   “The	  Street	  Smart	  Gun	  Book”	  (Farnam)	  
   	  
   “Police	  Handgun	  Manual”	  (Clede)	  
   	  
   “Police	  Shotgun	  Manual”	  (Clede)	  
   	  

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   “High	  Tech	  SWAT	  Weapons”	  (Bane)	  
   	  
   “PR-­‐24	  Baton	  Manual”	  (Starrett)	  
   	  
   “Police	  Officers	  Guide”	  (Clede)	  
   	  
   Cited	  as	  authoritative	  reference	  in	  numerous	  other	  publications.	  	  	  
   	  
   	  
   Career	  Accomplishments	  
   	  
   Voted	  Outstanding	  American	  Handgunner	  of	  the	  Year,	  1998.	  
   	  
   Winner	  of	  first	  annual	  National	  Tactical	  Advocate	  Award,	  1995,	  awarded	  by	  American	  Tactical	  
   Shooting	  Association.	  
   	  
   Winner	  of	  the	  Roy	  Rogers	  Award	  for	  promotion	  of	  firearms	  safety.	  
   	  
   Winner	  of	  first	  George	  C.	  Nonte	  Award	  for	  excellence	  in	  firearms	  journalism,	  1978.	  
   	  
   Firearms	  Qualifications	  and	  Awards	  
   	  
   Combat	  Master,	  NRA	  Police	  Revolver	  
   	  
   First	  5-­‐gun	  Master,	  International	  Defensive	  Pistol	  Association	  
   	  
   Master,	  Revolver,	  National	  Marksman	  Sports	  Society	  
   	  
   Master,	  Automatic,	  National	  Marksman	  Sports	  Society	  
   	  
   Class	  A,	  International	  Practical	  Shooting	  Confederation	  
   	  
   Grand	  Mastershot,	  UK	  Practical	  Shooting	  Association	  
   	  
   Master	  Blaster,	  Second	  Chance	  
   	  
   Expert,	  NRA	  Action	  Shooting	  
   	  
   Honorary	  Distinguished	  Expert,	  Federal	  Law	  Enforcement	  Training	  Center	  
   	  
   Several	  times	  top	  shooter	  in	  statewide	  NH	  police	  combat	  matches,	  1973-­‐2003	  
   	  
   Five	  times	  New	  England	  Regional	  champion	  in	  various	  handgun	  disciplines	  
   	  

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   Co-­‐winner	   with	   daughter	   Justine,	   National	   Champion	   Parent/Child	   Team,	   National	   Junior	  
   Handgun	  Championships,	  1998	  
   	  
   Has	  won	  numerous	  individual/local	  combat	  shooting	  tournaments,	  has	  competed	  successfully	  
   in	  five	  countries.	  	  
   	  
   Law	  Enforcement	  Experience	  
   	  
   Hooksett	  (NH)	  Police	  Dept.:	  1972-­‐73,	  auxiliary	  policeman.	  1973-­‐1980,	  fully	  sworn	  Police	  Officer.	  
   Duties	   under	   four	   chiefs	   included	   patrol,	   firearms	   training,	   community	   relations	   and	   crime	  
   prevention	  assignments,	  dept.	  firearms	  instructor	  for	  most	  of	  this	  period.	  Served	  in	  part	  time	  
   capacity	  with	  full	  police	  authority.	  
   	  
   Deerfield	  (NH)	  Police	  Dept.:	  1982-­‐1990.	  	  Fully	  sworn	  officer,	  rank	  of	  Sergeant	  (’82-­‐’84)	  in	  charge	  
   of	   all	   police	   training,	   and	   Lieutenant	   (’84-­‐’90),	   in	   charge	   of	   police	   training	   and	   crime	   prevention	  
   activities.	  Served	  in	  part	  time	  capacity	  with	  full	  police	  authority.	  
   	  
   Grantham	   (NH)	   Police	   Dept.:	   1990-­‐present.	   	   Fully	   sworn	   Captain	   and	   Police	   Prosecutor.	  	  
   Training,	   research,	   and	   other	   administrative	   functions.	   	   Served	   in	   part	   time	   capacity	   with	   full	  
   police	  authority.	  
   	                                                  	  




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                                                            Massad	  Ayoob	  case	  list	  
   	  
   CASE	                                              LOCALE	            ALLEGATION	                            RETAINED	  BY	  
   Littleton	  v.	  Belmont	  County	              OH	                Wrongful	  Death	                     Defendant	  
   Florida	  v.	  Hecksel	                          FL	                Manslaughter	                          Defendant	  
   Favor	  v.	  Walgreen	                           TX	                Wrongful	  Death	                     Defendant	  
   Texas	  v.	  Hubbard	                            TX	                Murder	                                Defendant	  
   Wemouth	  v.	  Brunswick	                        ME	                Wrongful	  Death	                     Defendant	  
   Allen	  v.	  Leal	                               TX	                Wrongful	  Death	                     Plaintiff	  
   California	  v.	  Karlson	                       CA	                Murder	                                Defendant	  
   Minick	  v.	  County	  of	  Sacramento	        CA	                Wrongful	  Death	                     Defendant	  
   Jones	  v.	  Norwalk	                            CT	                Wrongful	  Death	                     Defendant	  
   CA	  v.	  Matthews	                              CA	                Assault	                               Defendant	  
   Maxim	  v.	  Livingstone	                        FL	                Wrongful	   Shooting	                 Plaintiff	  
                                                                           Injury	  
   Florida	  v.	  Bonenfant	                        FL	                Aggravated	  Assault	                 Defendant	  
   Cangealose	  v.	  Janet	  Reno	  &	  FBI	     Wash	  DC	        Wrongful	                              Plaintiff	  
                                                                           Termination	  
   Null	  v.	  Murfreesboro	                        TN	                Wrongful	                              Plaintiff	  
                                                                           Termination	  
   Missouri	  v.	  Beeler	                          MO	                Murder	                                Defendant	  
   Nordlund	  v.	  American	  Armor	               NE	                Product	  Liability	                  Defendant	  
   House	  v.	  Lawco	                              UT	                Product	  Liability	                  Defendant	  
   Saldana	  v.	  Weitzel	                          WI	                Wrongful	  Death	                     Defendant	  
   Messing	  v.	  Oak	  Creek	                     WI	                Wrongful	  Death	                     Defendant	  
   Palmquist	  v.	  Selvik	                         IL	                Wrongful	  Death	                     Defendant	  
   NY	  v.	  Gill	                                  NY	                Gun	  Permit	  Hearing	              Defendant	  
   Michigan	  v.	  Budzyn	                          MI	                Murder	                                Defendant	  
   Wallen	  v.	  County	  of	  El	  Dorado	      CA	                Wrongful	  Death	                     Defendant	  
   FL	  v.	  Jimmy	  Hecksel	                      FL	                Manslaughter	                          Defendant	  
   Paderez	  v.	  Blocker	                          CA	                Product	  liability	                  Defendant	  
   Blanford	  v.	  County	  of	  Sacramento	      CA	                Wrongful	  Death	                     Defendant	  
   MA	  v.	  Robert	  Tessitore	                   MA	                Manslaughter	                          Defendant	  
   Kulesza	  v.	  Marina	  Bay	                    MA	                Failure	  to	  protect	              Plaintiff	  
   MS	  v.	  Patrick	  Champagne	                  MS	                Manslaughter	                          Defendant	  
   Gorey	  v.	  Foley	                              MI	                Wrongful	  Death	                     Defendant	  
   Tim	  Alessi	  v.	  State	  of	  FL	          FL	                PCR	                                   Appellant	  	  
   TN	  v.	  Robert	  Barnes	                      TN	                Murder	  	                            Defendant	  
   FL	  v.	  Plana	                                 FL	                Murder	                                Defendant	  
   Webster	   &	   Castle	   v.	   Orange	        FL	                Wrongful	  Shooting	                  Defendant	  
   County	  
   Oxendine	  v.	  SRMC	                            NC	                Wrongful	  Death	                     Defendant	  
   FL	  v.	  Ed	  Michael	                         FL	                Aggravated	  Assault	  	  	  	     Defendant	  
   TX	  v.	  Terry	  Graham	                       TX	                Homicide	                              State	  


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   NM	  v.	  Billy	  Anders	                                                                                                                                                                       NM	                                                                                                 Manslaughter	                                                                             Defendant	  
   MD	  v.	  Der	  and	  Kifer	                                                                                                                                                                   MD	                                                                                                 Manslaughter	  	                                                                         Defendants	  
   CO	  v.	  Larry	  Lindsey	                                                                                                                                                                      CO	                                                                                                 Aggravated	  Assault	                                                                    Defendant	  
   WA	  v.	  Jay	  Olsen	                                                                                                                                                                          WA	                                                                                                 Aggravated	  Assault	                                                                    Defendant	  
   Chambers	  v.	  Graham	                                                                                                                                                                          TX	                                                                                                 Wrongful	  Death	                                                                        Defendant	  
   FL	  v.	  Tim	  Alessi	                                                                                                                                                                         FL	                                                                                                 Murder	  (appeal)	                                                                       Defendant	  
   CA	   v.	   Thomas	   Mun	   &	   Chad	   CA	                                                                                                                                                                                                                                                     Homicide	   (grand	   jury	                                                             State	  
   Marshall	                                                                                                                                                                                                                                                                                               level)	  
   FL	  v.	  William	  Wilkerson	                                                                                                                                                                  FL	                                                                                                 Murder	                                                                                   Defendant	  
   FL.	  V.	  Ronald	  Robbins	                                                                                                                                                                    FL	                                                                                                 Manslaughter	                                                                             Defendant	  
   WA	  v.	  Jay	  Olsen	                                                                                                                                                                          WA	                                                                                                 Aggravated	  Assault	                                                                    Defendant	  
   Chambers	  v.	  Graham	                                                                                                                                                                          TX	                                                                                                 Wrongful	  Death	                                                                        Defendant	  
   Arizona	  v.	  Larry	  Hickey	                                                                                                                                                                  AZ	                                                                                                 Aggravated	  Assault	                                                                    Defendant	  
   Olevarria	  v.	  Couture	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  VA	                                         	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  Wrongful	  
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   Aguilar	  v.	  ICE	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  NY	  
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   Atkinson	  v.	  Tulare	  County	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  CA	                                                                         	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  Wrongful	  
                                                                                                                                                                                                                                                                                                              	  	  	                                                           Death	  	  	     Defendant	  
   Gutierrez	  v.	  Yolo	  County	                                                                                                                                                                 CA	                                                                                                 Wrongful	  Death	                                                                        Defendant	  
   WV	  v.	  Jonathan	  Ferrell	                                                                                                                                                                   WV	                                                                                                 Murder	                                                                                   Defendant	  
   	  
   	  




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